      Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 1 of 17



Chad M. Knight
James E. Roberts
Nadia Patrick
W. Adam Duerk
Brendan M. Johns (Admitted Pro Hac Vice)
KNIGHT NICASTRO MACKAY, LLC
283 W. Front Street, Suite 203
Missoula, Montana 59802
Telephone: (406) 206-7052
Facsimile: (816) 396-6233
knight@knightnicastro.com
roberts@knightnicastro.com
npatrick@knightnicastro.com
duerk@knightnicastro.com
johns@knightnicastro.com
       Attorneys for BNSF Railway Company


              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                       MISSOULA DIVISION

BNSF RAILWAY COMPANY, on                    Civil Action No.: CV-19-40-M-DLC
behalf of THE UNITED STATES OF
AMERICA
                Plaintiff,                BNSF’S SUPPLEMENTAL
                                          STATEMENT OF UNDISPUTED
vs.                                       FACTS
THE CENTER FOR ASBESTOS
RELATED DISEASE, INC.,
                Defendant.


      Relator, BNSF Railway Company (“BNSF”), by and through its attorneys of

record, Knight Nicastro MacKay, LLC, hereby submits the following




                                      1
       Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 2 of 17



Supplemental Statement of Undisputed Facts in support of its motion for partial

summary judgment (Doc. 78):

                   CARD’s Revised Statement of Disputed Facts

      According to CARD’s Revised Statement of Disputed Facts (Doc. 110), the

following Facts are now undisputed:

      152. CARD has submitted EHH forms to the Social Security

Administration (SSA) when CARD providers were aware that the individual

patient did not have a clinical diagnosis of asbestos-related disease. (Doc. 110,

pg. 1, SDF ¶69).

      153. According to Tanis Hernandez’ sworn testimony, Dr. Black, Tanis

Hernandez and Tracy McNew knew about CARD’s practice of submitting patient

EHH forms for Medicare benefits to Social Security for patients who did not have

a diagnosis of asbestos-related disease. (Doc. 110, pg. 2, SDF ¶80).

      154. CARD continues its practice of submitting patients’ EHH forms to

SSA who do not have a diagnosis of asbestos-related disease. (Doc. 110, pg. 2,

SDF ¶131).

      155. CARD has submitted patients without a diagnosis of asbestos-related

disease to the Social Security Administration for Medicare benefits since at least

2013, and presumably since the Affordable Care Act was passed in 2010. (Doc.

110, pg. 2, SDF ¶132).

                                          2
       Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 3 of 17



      156. CARD submitted an EHH form in multiple patients’ cases based on a

B-read alone when CARD’s current Medical Director knew those patients did not

have an asbestos-related disease diagnosis. (Doc. 110, pp. 2-3, SDF ¶135).

      157. CARD’s medical director testified multiple patients’ EHH forms were

submitted to the Social Security Administration for Medicare benefits even though

they do not have a CARD diagnosis of asbestos-related disease. (Doc. 110, pg. 3,

SDF ¶136).

      158. CARD knowingly submitted EHH forms to the Social Security

Administration in support of Medicare benefits [for patients] who had no clinical

diagnosis of asbestos-related disease. (Doc. 110, pg. 3, SDF ¶151).

      159. CARD has been signing EHH forms for patients without a clinical

diagnosis since the federal grant started. (Doc. 110, pg. 3, SDF ¶292).

                       Testimony of Senator Max Baucus

      According to Senator Max Baucus’ recent sworn testimony, the following

Facts are now undisputed:

      160. In order to be eligible for Medicare benefits under the Affordable

Care Act an individual must have a diagnosis of an asbestos-related disease.

(Ex. 67: Dep. Senator Max Baucus 20:17-21; 73:21-74:4; 74:16-21, July 19, 2022

(“Dep. Baucus”)).



                                         3
       Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 4 of 17



       161. Senator Baucus’ intention, and the intention of the EHH statutory

provisions in the Affordable Care Act is that “if you got a diagnosis, you’re

covered; if there’s no diagnosis, you’re not covered… It’s very simple.”

[Emphasis added]. (Dep. Baucus 74:9-15).

       162. The purpose of the Environmental Health Hazard (EHH) provisions in

the Affordable Care Act was to provide Medicare benefits for people who were

exposed to Libby asbestos, not to provide Medicare benefits to people who are not

sick. [Emphasis added]. (Dep. Baucus 21:1-7; 21:19-22:1).

       163. Senator Baucus, Kathleen Sebelius and Christy Todd Whitman were

not trying to draft legislation that would just make everyone in Libby, Montana

Medicare eligible if they did not have asbestos-related disease. (Dep. Baucus 43:2-

15).

       164. It was never Sen. Baucus’ intent to make it easier to defraud the

Medicare program based on provisions he added to the Affordable Care Act.

(Dep. Baucus 43:21-24).

       165. There is no provision stated in Section 1881 of the Affordable Care

Act that creates an exception for a patient to be eligible for Medicare benefits

without a diagnosis. (Dep. Baucus 18:25-19:6).

       166. In terms of the law itself, there is no provision in the Affordable Care

Act EHH provisions that creates an exception for a patient to be eligible for

                                          4
       Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 5 of 17



Medicare benefits without a diagnosis of asbestos-related disease – there must be a

diagnosis. [Emphasis added]. (Dep. Baucus 74:16-21).

       167. If a patient does not have a diagnosis of an asbestos-related disease, if

a patient is not sick from Libby amphibole, they should not be submitted for

Medicare benefits – no exceptions. (Dep. Baucus 58:22-59:1; 74:22-75:4; 75:16-

22).

       168. When a physician submits a Medicare claim form while knowing that

the patient does not have a diagnosis of asbestos-related disease, that is fraud.

(Dep. Baucus 60:17-62:6).

       169. Patients who have a finding of an abnormality on a B-read chest x-ray

or CT scan (such as a fractured rib), but no signs of asbestos-related disease,

should not be submitted for Medicare benefits. (Dep. Baucus 57:2-59:1).

       170. If CARD submitted Medicare claim forms for multiple patients when

CARD knew that those patients did not have a diagnosis of asbestos-related

disease, that would be “fraud.” [Emphasis added]. (Dep. Baucus 60:17-25).

                   Testimony of Arthur L. Frank, M.D., Ph.D.

       According to CARD Expert Dr. Arthur Frank’s recent sworn testimony, the

following Facts are now undisputed:

       171. According to Dr. Frank, it would be perjury to tell a Court that a

patient had a diagnosis of asbestos-related disease when the physician knows that

                                           5
       Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 6 of 17



that patient does not have a diagnosis. (Ex. 68: Dep. Arthur L. Frank, M.D., Ph.D.

44:10-16, July 6, 2022 (“Dep. Frank”)).

      172. Dr. Frank has never told any official with the federal government that

a patient had a diagnosis of an asbestos-related disease when he knew the patient

did not have a diagnosis. (Dep. Frank 44:17-45:8).

      173. If Dr. Frank saw a rib fracture - not any evidence of asbestos-related

disease on a CT scan - it would be improper to report that finding as an asbestos-

related disease diagnosis. (Dep. Frank 49:22-50:3).

      174. If Dr. Frank knew that a patient did not have an asbestos-related

disease, he would not report to a judge, jury or the federal government that the

patient has a diagnosis of asbestos-related disease. (Dep. Frank 50:9-14).

      175. It would be improper to make a claim for Medicare benefits for a

patient who is not eligible for Medicare. (Dep. Frank 61:7-20).

                         Testimony of Albert Miller, M.D.

      According to CARD Expert, NIOSH certified B-reader Dr. Albert Miller’s

recent sworn testimony, the following Facts are now undisputed:

      176. A B-reader does not diagnose asbestos-related disease, that is the job

of the treating physician. (Ex. 69: Dep. Albert Miller, M.D., 71:23-74:17, July 25,

2022 (“Dep. Miller”)).



                                          6
         Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 7 of 17



         177. Dr. Miller has never knowingly testified on behalf of a plaintiff that

he knew did not have a diagnosis of asbestos-related disease. (Dep. Miller 25:21-

26:8).

         178. Dr. Miller would not knowingly testify that a patient had asbestos-

related disease when he knows they do not because he values his objectivity and

impartiality. (Dep. Miller 26:6-16).

         179. If Dr. Miller were aware of a medical expert who had been willing to

state that a patient had asbestos-related disease when that expert knew the patient

did not have a diagnosis of asbestos-related disease, his opinion of that person

would markedly diminish. (Dep. Miller 27:11-20).

         180. Dr. Miller has never signed and dated a Medicare claim form listing a

diagnosis for asbestosis when the patient did not have a diagnosis of asbestosis.

(Dep. Miller 46:9-18).

         181. If Dr. Miller believed that a patient did not have a diagnosis of

asbestos-related disease, he would not sign a form saying that they did. (Dep.

Miller 57:10-59:2).

         182. Dr. Miller would not submit a Medicare claim form saying a patient

has asbestosis when he knows the patient does not have that condition. (Dep.

Miller 60:19-61:6).



                                            7
       Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 8 of 17



       183. When Dr. Miller knows there is not asbestosis, he would not state that

the person has been diagnosed with asbestosis. (Dep. Miller 119:6-9).

       184. Dr. Miller was not aware that CARD has submitted EHH Medicare

claim forms to the SSA when CARD providers were aware that the individual

patient did not have a diagnosis of asbestos-related disease. (Dep. Miller 102:5-

11).

       185. No one at CARD ever told Dr. Miller that Dr. Black, Tanis Hernandez

and Tracy McNew knew about CARD’s practice of submitting patient EHH forms

to the SSA who do not have a diagnosis of asbestos-related disease. (Dep. Miller

102:12-18).

       186. No one at CARD has ever told Dr. Miller that CARD submitted

patients without a diagnosis of asbestos-related disease to the Social Security

Administration for Medicare benefits since at least 2013. (Dep. Miller 103:19-24).

       187. No one at CARD ever told Dr. Miller – and he is not aware - that

CARD has been signing EHH forms for patients without a clinical diagnosis since

the federal grant started. (Dep. Miller 104:11-15).

                      Testimony of Cristopher Meyer, M.D.

       According to CARD B-reader Dr. Cristopher Meyer, M.D.’s sworn

testimony, the following facts are now undisputed:



                                          8
       Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 9 of 17



      188. Dr. Meyer is one of only a few hundred NIOSH certified B-readers in

the world. (Ex. 70: Dep. Cristopher Meyer, M.D., 8:23-11:9, Aug. 17, 2022 (“Dep.

Meyer”)).

      189. Dr. Meyer was invited by Dr. Black and CARD to serve as a B-reader

to review x-rays and CT scans for CARD patients. (Dep. Meyer 16:1-10).

      190. B-readers on CARD’s expert panel review no patient information, no

exposure history – only de-identified patient x-rays and CT scans. B-readers check

boxes on a B-reader form that may or may not be related to pneumoconiosis. (Dep.

Meyer 16:10-19:23).

      191. B-readers make an interpretation of a chest x-ray or a CT scan and

share that interpretive report with the diagnosing physician. (Dep. Meyer 26:7-16).

      192. B-readers on CARD’s panel of outside readers do not diagnose

patients with asbestos-related disease, that is the role of the treating physician.

(Dep. Meyer 21:1-23:24).

      193. While radiologists as “a matter of pride, like to think we know what

we’re looking at,” in the B-reading context, providing a clinical diagnosis for

CARD patients was not ever Dr. Meyer’s intent. (Dep. Meyer 27:3-28:6).

      194. The B-reader code of ethics states: “B-readers shall recognize the

limitations of chest radiograph classifications and shall not make clinical diagnoses



                                           9
      Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 10 of 17



about the pneumoconiosis based on chest radiograph classification alone.” (Dep.

Meyer 28:21-29:10).

      195. B-readers make an interpretation of a chest x-ray or a CT scan and

share that interpretive report with the diagnosing physician. (Dep. Meyer 26:7-16).

      196. At no point did anyone at CARD explain to Dr. Meyer that CARD

was considering his B-reader interpretations as a stand-alone diagnosis. (Dep.

Meyer 27:3-7).

      197. Dr. Meyer has never considered his interpretations as a B-reader as a

stand-alone diagnosis. (Dep. Meyer 27:8-28:6).

      198. A B-reader on CARD’s panel does not act in the role of a treating or

diagnosing physician for CARD patients. (Dep. Meyer 24:14-25:12).

      199. B-readers on CARD’s panel of radiologists do not sign EHH forms.

(Dep. Meyer 23:25-24:20).

      200. Dr. Meyer, prior to his deposition, had never seen an EHH form, nor

had he ever been asked to check the diagnosis box on an EHH form. (Dep. Meyer

85:15-86:3).

      201. Dr. Meyer has never reported to CARD any information indicating a

date of diagnosis for any type of asbestos-related disease for any CARD patient.

(Dep. Meyer 86:18-87:5).



                                        10
         Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 11 of 17



         202. There is no box on a B-reader form indicating an interpretation of

“asbestosis.” (Dep. Meyer 87:2-5).

                                  Patient J.P.’s EHH Form

         203. There is no part of patient J.P.’s EHH form that shows an abnormality

consistent with “asbestosis.” (See Doc. 80-21: J.P’s EHH form; Dep. Meyer 87:6-

94:3).

         204. Any information on J.P.’s EHH form indicating that the patient has a

diagnosis of “asbestosis” based on a B-read is false. (Dep. Meyer 93:17-94:17).

         205. By sending B-read forms to CARD via FedEx for patient J.P. (and any

individual CARD patient), Dr. Meyer was not rendering a diagnosis of asbestos-

related disease. (Dep. Meyer 94:24-95:11).

         206. Dr. Meyer would not ever tell another health care provider that patient

J.P. had asbestosis based on his B-read alone. (Dep. Meyer 95:19-23).

         207. Although a diagnosis can be established by a B-reader’s interpretation

of a chest x-ray or a CT scan, that interpretation by the B-reader alone is not a

diagnosis. (Dep. Meyer 95:24-96:6).

         208. The radiographic interpretation of a chest x-ray or CT scan alone is

not a diagnosis of asbestos-related disease. (Dep. Meyer 96:7-97:14).

         209. Dr. Meyer was presented with a copy of a CARD letter during his

deposition. (See Ex. 71: Ltr. from CARD, May 18, 2014).

                                          11
      Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 12 of 17



      210. Dr. Meyer agrees with the statement in CARD’s letter that “outside

reader interpretations - in your case B-reader interpretations - would not be

considered a diagnosis of an asbestos-related disease in this context.” (See Ex. 71;

Dep. Meyer 99:17-23).

      211. Based on Dr. Meyer’s read of CARD’s letter it appears that the author

understood that a B-reader interpretation is not a diagnosis of asbestos-related

disease. (Dep. Meyer 99:24-100:4).

      212. At no time did CARD disclose to Dr. Meyer that CARD was basing

EHH Medicare eligibility requirements on his B-reads. (Dep. Meyer 101:15-18).

      213. CARD never communicated to Dr. Meyer that CARD intended to

submit patient J.P.’s EHH form – or hundreds of other EHH forms - for lifetime

Medicare benefits on his B-read alone. (Dep. Meyer 101:19-25).

      214. At no time did CARD inform Dr. Meyer that CARD planned to

submit a patient for lifetime Medicare benefits for a patient CARD knew only had

a fractured rib detected on radiographic scans based on Dr. Meyer’s B-read alone.

(Dep. Meyer 102:1-11).

      215. If Dr. Meyer had known that CARD intended to submit patients for

Medicare benefits on his B-reads alone, when that patient only had a fractured rib,

he stated: “I would have objected to it strongly and would have had a discussion



                                         12
            Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 13 of 17



internally with our risk management to understand how to further proceed.”

[Emphasis added]. (Dep. Meyer 102:1-16).

                                     Affidavit of Jeffrey Kanne, M.D.1

            According to CARD B-reader Dr. Jeffrey Kanne’s Affidavit, the following

facts are now undisputed:

            216. The only information CARD panel B-readers receive from CARD

includes de-identified images, B-reader forms for each image and return Fed-Ex

envelopes to CARD. (Ex. 72: Aff. Jeffrey Kanne, M.D., ¶¶6-7, Sept. 9*, 2022

(“Aff. Kanne”)).

            217. It is not Dr. Kanne’s job to diagnose any CARD patient, including for

any asbestos-related disease. The responsibility for diagnosing lies with the CARD

patient’s physician. (Aff. Kanne ¶8).

            218. Dr. Kanne reviewed the CT image taken on August 20, 2013 (for

CARD patient J.P.), apparently signed and dated by Dr. Kanne on August 21,

2014. (Aff. Kanne ¶9).

            219. This B-reader classification form, by itself does not, nor could it,

constitute a diagnosis of asbestos-related disease. (Aff. Kanne ¶10).

            220. This B-reader form indicates the presence of “Emphysema.” (Aff.

Kanne ¶11).


1
    * Dr. Kanne is anticipated to sign his affidavit on Thursday. His affidavit will be filed with the Court upon receipt.
                                                             13
      Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 14 of 17



      221. Although this classification form can be read as saying that this

patient had lung abnormalities on the date that this CT image was taken, this report

does not conclude or even attempt to opine as to the cause of these lung

abnormalities, this report does not conclude that this patient has “asbestosis,” nor

does this report conclude that the abnormalities are related specifically to asbestos

exposure. (Aff. Kanne ¶12).

      222. After the deposition of Dr. Kanne’s colleague, Christoper Meyer, it

has come to Dr. Kanne’s attention that the CARD clinic has apparently cited B-

read classification report or the B-read classification report of others of its NIOSH-

certified B-reader panel as the sole basis for submitting claims for Medicare

benefits for CARD patients. (Aff. Kanne ¶13).

      223. After the deposition of Dr. Kanne’s colleague, Dr. Cristopher Meyer,

it has also come to Dr. Kanne’s attention that the CARD clinic has cited his B-read

classification report for this individual (attached as Exhibit A to Dr. Kanne’s

Affidavit) as the sole basis for submitting a claim for Medicare benefits for this

individual. (Aff. Kanne ¶14).

      224. Specifically, CARD has apparently represented to the Social Security

Administration that Dr. Kanne’s B-read report alone constitutes a “diagnosis” of

asbestos-related disease. (Aff. Kanne ¶15).



                                          14
      Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 15 of 17



      225. This is not true. As noted in paragraph 8 above, Dr. Kanne’s role as a

B-reader was not to diagnose any CARD patient, nor did Dr. Kanne’s completion

of any B-reader classification form constitute a diagnosis of any CARD patient.

(Aff. Kanne ¶16).

      226. B-readers do not diagnose any individual, including those individuals

who were patients of CARD within the context of CARD’s screening program.

(Aff. Kanne ¶17).

      227. To suggest that Dr. Kanne’s B-read classification report, for patient

J.P. (or any other CARD patient for that matter) constitutes a “diagnosis” of any

kind, including any diagnosis of “Asbestosis” or any other asbestos-related disease,

is false. (Aff. Kanne ¶18).

      228. Based on information presented to Dr. Kanne from Dr. Cristopher

Meyer’s recent deposition related to CARD’s practice of using of B-readers’

reports as a basis for making Medicare claims for their patients, Dr. Kanne’s and

Dr. Meyer’s employer, the University of Wisconsin, has notified CARD that it

intends to terminate its B-reader contract with CARD. (Aff. Kanne ¶19).

      229. Information that CARD has submitted patients for Medicare benefits

using Dr. Kanne’s B-read classifications as a basis for that submission, was

unknown to him until after Dr. Meyer’s deposition of August 17, 2022. (Aff.

Kanne ¶20).

                                         15
      Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 16 of 17



      230. A true and accurate copy of the Notice of Termination related to the

University of Wisconsin’s decision to terminate its B-reader contract with CARD

is attached as Exhibit B to Dr. Kanne’s Affidavit. (Aff. Kanne ¶21).

      DATED this 7th day of September, 2022.

                                KNIGHT NICASTRO MACKAY, LLC


                                By:   /s/ W. Adam Duerk
                                      W. Adam Duerk
                                      Attorneys for BNSF Railway Company




                                        16
      Case 9:19-cv-00040-DLC Document 120 Filed 09/07/22 Page 17 of 17



                           CERTIFICATE OF SERVICE

      I certify on this 7th day of September, 2022, a copy of the foregoing

document was served upon the following persons by the following means:


1-3         CM/ECF
            Mail
            Hand Delivery
            Overnight Delivery Service
            Fax
            Email


1.    Clerk, U.S. District Court

2.    Michael Kakuk
      Assistant U.S. Attorney
      U.S. Attorney’s Office
      P.O. Box 8329
      105 E. Pine, 2nd Floor
      Missoula, MT 59802
      Michael.kakuk@usdog.gov

3.    Timothy Bechtold
      Bechtold Law Firm, PLLC
      PO Box 7051
      Missoula, MT 59807
      Facsimile: 406-830-3085
      tim@bechtoldlaw.net


                                   KNIGHT NICASTRO MACKAY, LLC


                                   By:   /s/ W. Adam Duerk
                                         W. Adam Duerk
                                         Attorneys for BNSF Railway Company

                                          17
